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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )             CASE NO. 8:05CR422
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )
                                             )        MEMORANDUM AND ORDER
ROSE MEROLLA,                                )
                                             )
             Defendant.                      )

      This matter is before the Court on a Report and Recommendation (Filing No. 76) of

a Magistrate Judge recommending that I accept the Defendant’s plea of guilty. There are

no objections to the Report and Recommendation. Pursuant to 28 U.S.C. § 636(b)(1)(C) and

NECrimR 11.2(d), the Court has conducted a de novo review of the record.

      IT IS ORDERED:

      1.     The Report and Recommendation (Filing No. 76) is adopted;

      2.     The Defendant is found guilty. The plea is accepted. The Court finds that

             the plea of guilty is knowing, intelligent, voluntary, and that a factual basis

             exists for the plea;

      3.     I defer acceptance of the plea agreement until the time of sentencing

             pursuant to Federal Rule of Criminal Procedure 11(c)(3). Unless otherwise

             stated at the time of sentencing, the plea agreement will be deemed

             accepted upon the pronouncement of the judgment and sentence; and

      4.     This case shall proceed to sentencing.

      DATED this 10th day of August, 2006.

                                                 BY THE COURT:

                                                 S/ Laurie Smith Camp
                                                 United States District Judge
